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                       18'
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                 (TYP)

              24' (TYP)
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                                                                                                                    101 PARKING SPACES                                                                                                                                  UP
            82 PARKING SPACES
                                                                                                           24.00'




        SITE PLAN
    1   1" = 60'-0"




PCSSD
MILLS HIGH SCHOOL CLASSROOM & ARENA ADDITIONWITTENBERG, DELONY & DAVIDSON ARCHITECTS
1205 EAST DIXON ROAD, LITTLE ROCK, AR 72206                                                                                                                                                                                                                                  11/30/22               22−007
